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          IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:11CR53
                              )
          v.                  )
                              )
IGNACIO RUBIO HERNANDEZ,      )                MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

under 28 U.S.C. § 2255 to vacate, set aside or correct sentence

by a person in federal custody (Filing No. 87), application to

proceed in forma pauperis (Filing No. 88), and application for

appointment of counsel (Filing No. 89).          Defendant also submitted

a memorandum of points (Filing No. 90) and an affidavit in

support of his motion (Filing No. 91).

          Defendant entered a plea to Counts I and VII of a

seven-count superseding indictment.        His first claim alleges

ineffective assistance of counsel “for failure to challenge

evidence, interview witnesses, file motions challenging or

suppressing government’s evidence.”        A motion to suppress was

filed on his behalf (Filing No. 46), but defendant entered a plea

before a ruling was made on that motion.

          Defendant also alleges that defense counsel failed to

file a direct appeal after sentencing.         The Court has reviewed
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defendant’s plea agreement (Filing No. 53) wherein it is stated

at Section VII:

                  Except as provided in Section I
                  above . . . the defendant hereby
                  knowingly and expressly waives any
                  and all rights to appeal the
                  defendant’s conviction and
                  sentence, including any restitution
                  order in this case, including a
                  waiver of all motions, defenses,
                  and objections which the defendant
                  could assert to the charges or to
                  the Court’s entry of Judgment
                  against the defendant, and
                  including review pursuant to 18
                  U.S.C. § 3742 of any sentence
                  imposed.

                  The defendant further knowingly and
                  expressly waives any and all rights
                  to contest the defendant’s
                  conviction and sentence in any
                  post-conviction proceedings,
                  including any proceedings under 28
                  U.S.C. § 2255 except:
                            . . .

                     (b) the right to seek post
                  conviction relief based on
                  ineffective assistance of counsel,
                  or prosecutorial misconduct, if the
                  grounds for such claim could not be
                  known by the defendant at the time
                  the Defendant enters the guilty
                  plea contemplated by this plea
                  agreement.

Inasmuch as defendant waived any right to appeal or to file a

§ 2255 motion, that claim is without merit.

          Defendant also alleges that counsel was “ineffective

for misadvising movant about the plea agreement and priors,

counsel never mentioned about a sentence length if movant went to

trial and lost.”    Section II of the plea agreement sets forth the
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quantity of methamphetamine (50 grams actual).            Section III of

the plea agreement concerning Count I states that:

                Defendant understands that the
                crime to which defendant is
                pleading guilty carries the
                following penalties:

                   1. A maximum penalty of Life in
                prison; and a mandatory minimum of
                10 years.

Section III of the plea agreement concerning Count VII states

that:
                Defendant understands that the
                crime to which defendant is
                pleading guilty carries the
                following penalties:

                   1. A maximum of 20 years in
                prison; no mandatory minimum.

The agreement as to sentencing issues was made pursuant to

Federal Rule of Criminal Procedure 11(c)(1)(b).            Defendant cannot

now claim he was unaware of the potential penalties.              A separate

order will be entered in accordance with this memorandum opinion.

          DATED this 19th day of September, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
